      Case 8-15-71374-ast            Doc 14       Filed 08/29/18   Entered 08/29/18 12:43:11




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:
                                                                   Index No. 15-71374 (AST)
 MICHELLE SPADAVECCHIA
 aka Michelle Depinto,                                             Chapter 7
                                     Debtor.
  ----------------------------------------------------------- X

                     ORDER REOPENING BANKRUPTCY
      CASE, AVOIDING JUDICIAL LIENS, AND CLOSING BANKRUPTCY CASE

        UPON the motion (the “Motion”) of Michelle Spadavecchia (the “Debtor”), the above-

referenced debtor, by and through his counsel, Macco & Stern, LLP, for an order (i) reopening the

Debtor’s bankruptcy case; (ii) avoiding judicial liens against the Debtor’s interest in the real

property located at, and known as, 17 Park Circle, Nesconset, NY 11767 (the “Real Property”);

and (iii) closing the Debtor’s bankruptcy case; and notice of the Motion being good and sufficient,

and no further notice being necessary nor required; and no objections to the Motion having been

filed or received; and after due deliberation and sufficient cause appearing therefore, it is hereby:

        ORDERED, that the Motion is granted; and it is further

        ORDERED, that the Debtor’s bankruptcy case, assigned index number 15-71374 (AST),

is reopened; and it is further

        ORDERED, that upon the entry of a discharge order, the following judicial liens are

vacated, expunged, and avoided as a lien of record against the Real Property:

        1.       Midland Funding LLC dba in New York as Midland Funding of Delaware LLC

                 a/s/i/t to a Chase Account recorded with the Suffolk County Clerk on January 6,

                 2011 in the amount of $4,773.79;

        2.       Petro Inc. recorded with the Suffolk County Clerk on March 25, 2010 in the amount

                 of $2,432.63;
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       3.      Citibank South Dakota N.A. recorded with the Suffolk County Clerk on May 11,

               2011 in the amount of $2,950.82;

       4.      LVNV Funding LLC recorded with the Suffolk County Clerk on October 4, 2011

               in the amount of $2,918.91;

       5.      Advantage Assets II Inc. recorded with the Suffolk County Clerk on May 18, 2011

               in the amount of $2,600.64; and it is further

       ORDERED, that upon the entry of a discharge order, the Suffolk County Clerk shall be

directed to index and record a certified copy of this Order as an instrument vacating, expunging,

and avoiding the aforementioned judicial liens as liens against the Debtor’s real property located

at, and known as, 17 Park Circle, Nesconset, New York 11767; and it is further

       ORDERED, that the Clerk of the Bankruptcy Court is directed to close the Debtor’s

bankruptcy case, assigned index number 15-71374 (AST).




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 Dated: August 29, 2018                                                 Alan S. Trust
        Central Islip, New York                                United States Bankruptcy Judge
